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                                                                                           AE. NOBLE           .
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                                           18U.S.C.j1347
                                           18U.S.C.j371
                                           42U.S.C.j1320a-7b(b)(2)(A)
                                           18U.S.C.j2
                                           18U.S.C.j1956(h)
                                           18U.S.C.j982(a)(1),(a)(7)
     U NITED STA TE S O F A M ER ICA

     VS.

     M INA L PA TEL,

                     D efendant.


                                               IND ICTM ENT

             The Grand Jlzry chargesthat:

                                       G ENER AL ALL EG AT IO N S

             Ata11tim es m aterialto this h dictm ent:

                                        M ED ICA R E PR O GM M

                     TheM edicareProgrnm (I&h4edicare'')wasafederallyfundedprogram thatprovided
     free or below-cost'health care benefits to certain individuals,primarily the elderly,blind,and

     disabled.ThebenefitsavailabletmderM edicareweregovem edbyfederalsta'
                                                                        tutesandregulations.

     TheUnited StatesDepartmentofHea1th andHuman Services(ççHHS''),through itsagency,the
     Centers forM edicareand M edicaid Services (1tCM S''),oversaw and administered M edicare.
 '
     lndividuals who received benefits tm der M edicare w ere com m only refen'ed to as M edicare
                                                                                        l
     ûlbeneficiaries.''
                                                                                           !
                     M edicarewasaGGhealthcarebenefitprogram,''asdefinedbyTitle18,UllitàdStates
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' .   . .
               Code,Sedion 24(b)and açTederalhealth careprogram,''asdefined by Title42,United States
               Code,Section 1320a-7b(9.
                      3.     Medtcare progrnms covering different types of beneûts were separated into
               differentprogrnm çtparts.''&ûpat'tA''oftheM edicareprogram coveredhealth servicesprovidedby
       '
               hospitals,skilled ùursing facilitieb,hospicesm'
                                                             ldhom ehealth agencies.EGpat'tB''oftheM edicare

               Prbgram was a m edicalinsurance program thatcovered,nmong other things,medicalservices

               provided by.physicians,m edicalclinics,laboratories and other qualified health care providers,

               suéh as office visits,m inor surgical proced,ures, and laboratory testing, that were m edically

               necessary and ordered by licensed m edicaldoctorsorotherqualified health careproviders.The
                                                                                 '
                                                                                                   j

               M edicare A dvantage Program ,form erly lcnow n as lûpartC''or Gil
                                                                                Mèedicare-hchoice,''is described

               in furtherdetailbelow.

                              Physicians,clinics and other health care providers,including laboratories,that

               provided servicestoM edicarebenetk iarieswereabletoapply forandobtain aEçproviderntzmber.''

               A health care providerthatreceived a M edicare provider number was able to file claim s with
                                                                             '                         l
               M edicareto'obtain reimbursem entforservicesprovidedto beneficiaries.                   r
                                                                                                       l

                              A M edicareclaim wasrequiredtocontain certain importantinformation,including:

               (a)the Medicare beneficiary's name and Hea1th Insurance Claim Number (11HlCN'');(b) a
               description of the health care benefit,item ,or service that was provided or supplied to the

               beneficiary;(c)thebilling codesforthebenefh,item,orservice;(d)the dateupon Fhich the
                                                                                             I
               benéfit, item,orservice wasprovided orsupplied to the benefkiary;and (e)thennme
                                                                                             ) ojtjw
               feferring physician or otherhealth care provider,as w ellas a llnique identifying ntlm ber,lcnown
       '
               eitherastheUniquePhysician Identification Number(GCUPlN'')orNationalProviderIdentifier
           '
               (&çNP1'').Theclaim form couldbesubmittedinhardcopyorelectronically.


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                             PART B COVEM GE AND REGULATIONS                                  i
                                                                                              t
                                                                                              1
             6.     CM S acted through fiscal agents called M edicare administrative contractors
                                                                                              !
                                                                                              I
 ,
     (<1M ACs''),whichwerestatutory agentsforCM s.forM edicarePartB.TheM ACSwereprivate
     ,
     entitiesthatreviewed claimsandmadepaymentsto providersforservicesrenderedtoM edtcare
 '
     bepeficiaries. The M ACSwereresponsible forprocessing M edicare claim sarising within their

     assigned geographicalarea,including determining whetherthe claim wasforacovered sbrvice.

                   NovitasSolutionslnc.(ltNovitas''),wastheM AC forthe cénsolidated V edicare
     jtuisdictionsthatcovered Louisiana,M ississippi,Oklahoma,Texas,andPennsylvania.Palmet'to
     GBA (tTalmetto'') was the M AC for the cbnsolidated M edicare jtuisdictions thatincluded
     Georgia,Alabama,Tennessee,South Carolina,N orth Carolina,Virginia,and W estVirginia.

             8.     ToreceiveM edicarereimbtlrsem ent,providershadto makeappropriateapplication

     to the M AC and executed a m itten provider agreem ent. The M edicare provider enrollm ent
                     .                 .                                 J
     application,CM S Fonn 8558,wasrequired to be signed by ah authorized representative ofthe..

     provider. CM S Form 8558 contained a certification thatstated:

                   1 agree to 'abide by the M edicare law s, regulations, and prom nm
                   instm dions that apply to this provider. The M edicare law s,
                   regulations, and piogram instnzctions are available through the
                   M edicare contractor. I understand that paym ent of a claim by
                   M edicare is 'conditioned upon the claim and the underlying
                   transaction com plying w ith such law s, regulations apd progrnm
                    instnzctions(including,butnotlimitedto,thefederalanti-kickback
                    stattzteandtheStarklaw),andontheprovider'scompliancewithall
                    applicable conditionsofpadicipation in M edicare.                         (
                                                                                              1
                                                                                              -


             9.     CM S Fpnn 8558 contained additional certifications that !he provider 2:W uj uot
         :

     know ingly presentor cause to be presented a false orfraudulentclaim forpaym entby M edicare
     and w illnotsubm itclaim sw ith deliberate ignorance orrecklessdisregard oftheirtruth ot. falsity.'d
             '




             10.    Paym ents tm der M edicare Part B w ere often m ade directly to the health care
                                                                                        !
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                                                                      '
                                                                                        i
                                                                                        l
                                                                                        1


  Providerratherthantothepatientorbeneficiary.Forthistooccur,ihebeneficiarywould assign
  therightofpaymentto thehealth careprovider.Once such an assignm enttook place,thehealth

  care providerwould assume theresponsibility forsubm itting claim sto,and receiving payments

  from ,M edicare.

                          THE M EDICARE W VANTAGE PRQGRAM
                   The M edicare Advantage Program , fonnerly known as GGPaI't.C'' or

  ûGM edicare-l-choice,''provided M edicare beneficiarie:with the option to receivetheirM edicare

  benefitsthrough a wide variety ofprivate managed care plans,including health m aiùtenance

-'organizations (G<I-
                    1M Os'')7 provider sponsored organizations CTSOs''), preferred provider
                                      .                                                 '
       .
  orgnnlzations (çTPOs''),and private fee-for-service plans (CTFFS'')7rather than through the
  originalM edicareprogram (PartsA andB).
                   Pdvate health insurance companies offering M edicare.Advantage plans were

  required to provide M edicare beneficiaries with the snme services and gupplies offered lm der

  PartsA and B ofM edicare. To beeligibleto enrollin a M edicareAdvantageplan,,aperson had

  to havebeen entitled to benefitsunderPa14A andPartB oftheM edicareProgrnm .

           13. A ntlmberofcompanies,including UnitedHea1th Group,lnc.Ciunitedflealth'),
  Humana Inc.'(ç1Humana''), W ellcare Health Plans, Inc. (&CW e1lCare'') and CVS Heà1th
  Copöration (IGCVS Health'),alongwiththeirrelated subsidiariesand affiliates,contpcItedwith
               '                                                                        t
  CM S to provide managedcareto M edicareAdvantagebeneficiariestllrough variousplâ'
                                                                                  ns.
                                                                                        t
           14. unitedHealth,Humana,wellcareandCVSHealthwere&&health carlbenefit
  programsy''asdefinedby Title 18,United StatesCode,Section24(b).
                   These com panies,through their respective M edicare A dvantage prögrnm s,often

  m ade paym entsdirectly to physicians,m edicalclinics,or otherhealth care providers,ratherthan
Case 9:19-cr-80181-RAR Document 1 Entered on FLSD Docket 09/25/2019 Page 5 of 27



                                                                                          i
  to theM edicareAdvantagebeneficiary thatreceived thehealth carebenefks,item s,and 1      .
                                                                                    serdces.

  This occurred W hen the provider accepted assignm ent of the right to paym ent from the

  beneficiary.

                 To obtainpaymentforservicesortreatmentprovidedtoaberleficiary enrolledin
                                                                                  .       )

 'a M edicareAdvantage plan,physicians,medicalclinics,and otherhealth careprovidershad to

  submititei ized claim formsto the beneficiary'sM edicare Advantage plan. The claim forms.

  w eretypically subm itted electronically viatheintem et.The claim form required certain im portant

  inform ation,including the inform ation described above in paragr>ph 5 ofthislndictm ent.

         17.     .
                 W hen aprovider subm itted a claim fonu to''a M edicare Advantage program ,the

  providerparty certified thatthe contentsofthe form were true;correct,complete,and thatthe

  fol'm waspreparedin compliancewith thelawsandregulationsgoverning theM edicareprogram .

  The subm itting party also certified thatthe selwices being billed w ere m edically necessary and

  were in factprovided asbilled.

         18.     The private health insurance çompaniesoffering M edicareAdvantageplanswere
                                                                                        1
  paid a fixed rate per beneficiary per m onth by the M edicare program ,regardless of the acttlal

  number or type of services the beneficiary received. These payments by M edicare to the

  insurance com panies w ere know n as Gtcapitation''paym ents. Thus,every m onth,CM S paid the
                                                               ?
                                                               /
  health insurancecom paniesapre-determ ined amotmtforeach beneficiary whow asenrolled in a
                                                                                      '
                                                                                          I
  M edicam Advantageplan,regardlessofwhetherornotthebeneficiary utilizedtheplan'y'
                                                                                 lservices
                                                          '                               j
                                                                                          '

  thatm onth.CM S determinedtheper-patientcapitation nmountusing actuarialtables,bâsed on a

  variety offactors,including thebenefciary'sage,sex,severity ofillness,and county ofresidence.

  CM S adjusted thecapitation ratesnnnually,talcing into accounteach patient'spreviousilln'ess
 '
 diagnoses and treatments. Beneficiaries with m ore illnessesor'
                                                               m ore serious conditionswould
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        rate a highercapitation paym entthan healthierbeneficimnes.

                                         CANCER GENOM IC TESTS                                '
                                                                                              J
                                                                                              6
                   19. Cancergenomic(CCCGx'')testingusedDNA sequencing to detectmutùtionsin   ,




        genes that could indicate a higherrisk of developing certain types ofcancers in thè f'uture.

            CGx testing w asnotam ethod ofdiagnosing whetheran individualpresently had cancer.
                                                        N


                  20.    M edicare did not cover diagnostic testing that was Gçnot reasonable and .




        necessary forthediagkosisortreatmentofillnessorinjury ortoimprovethefunctioning ofa

            malformedbodymember.''Title42,United StatesCode,Section 1395y(a)(1)(A).Exceptfor
        .certain statutory exceptions,M edicare did notcovertGexaminations perform ed for a'pup ose

            otherthantreatmentordiagnosisofaspecificillness,symptoms,complaintorinjury.'' Title
        42,Code of FederalRegulations,Section 411.15(a)(1). Am ong the statutory exceptions
        .




.   '   M edicare covered were cancer screening tests such as ltscreening m amm ography,colorectal

            cancerscreeningtests,screeningpelvicexams,gandjprostatecancerscreeningtests.''f#.
                         Ifdiagnostic testing were necessary forthe diagnosisortreatm entofillness or
                                                                                              I


            injury or to improve the f'unctioning of a malformed body member,M edicare imposed
            additional.requirem ents before covering the testing. Title 42,Code ofFederalRegulations,

            Section 410.32(a)provided,;$A1ldiagnosticx-raytests,diaglfosticlaboratorytests,and other
            diagnostictests mustbe ordered by the physician who istreating the beneticiary,thg,
                                                                                              tis,the
                                                                                              i

        physician who f'urnishes a consultation ortreatsa beneficiary fora specific m edicalproblem

            and '
                w ho usesthe results in the m anagem entofthe beneficiary's specific m edicalproblem .''.

            çtrfests not ordered by the physician who istreating the beneficiary are not reasonable and

        necessary.''Id
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                  22.      BecauseCGx testing didnotdiagnose cancer,M edicareonly covered such tests

           inlimitedcircumstances,such aswhen abeneficiaryhadcancer.andthebeneficiary'sl
                                                                                       treating
       physiciap deem ed sudh testing necessary for the beneficiary's treatm ent of that8cancer.

           M edicare did not cover CGx, testing for beneficiades w ho did not have cancer or lacked

           symptom sofcancer.

                                                 TELEM EDICIN E

                     23.   Telem edicine.provided a m eans of cozmecting patients to doctors by'using

           telecommunicationstechnology,such asthe internetortelephone,to interactwith apatient.
                 '
                     24.   Telem edicine com panies provided telemedicine services to individualsby hiring
             .                                                   ''
   .
   .       doctorsand otherhealth care providers. Telemedicinecom pnniestypically paid doctorsa fee to .

,. .       conduct consultations with patients. In order to gener4te revenue,telem edicine companies
       '

           typically.eitherbilled insurance orreceivedpaymentfrom pqtientswhoutilized the serviqçsofthe

           telem edicine com pany.

                     25.   M edicare Pal4 B covered expenses for specified te1ehea1th services zif certain
                                                                                        '

                                                                                       t           .




           requirementsweremet.Theserequirementsincludedthat(a)thebeneficiarywaslocatedinarural
           orhealthprofessionalshortagearea;(b)servicesweredeliveredviaa.
                                                                        n interactiveaudioJndvideo
           telecommunications system'
                                    ,and (c)'
                                            the beneficiary was a practitloner'soffice or a specified
           m edicalfacility - notata beneficiary'shom e- dtlring thete1ehealth consultation with a rem ote

           practitioner.

                                  TH E D EFEN DA N T AN D R EL ATED EN TITIES

                           Labsolutions,LLC (ittvabsolutions'),acorporation organized underthelawsof
           Georgia;w as a laboratory thatpurportedly provided CG x testing to M edicare beneficiaries.

                     27.   D efendantM IN AT,PA TEL,aresidehtofGeorgia,w asthe ownerofLabsolutions.
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          28.
            .       Company A was a company incofporated tmder the laws of Florida,.with its

  principalplace ofbusinessin Palm Beach,Florida.

                    IndividualA ,a resident of Bay County,Florida,was one oftwo m anagers and

  m em bers ofCom pany A .

          30.       Company B was a çompany incorporated under the laws of Florida, with its

  principalplace ofbusinessin Palm Beach County,Florida.

          31.       lndividualB,aresidentofBay County,Florida,wasthesolem anagerand,m em ber

     ofCompany B.

          32.       Com pany C w as a com pany incop orated under the law s of Florida, with its
 '
  principalplace ofbusinessin Palm Beach County,Florida.

          33.       lndividualC,a resident ofPalm Beach Cotmty,was one of two m anagers and   .




  m em bers ofCom pany C.

                                               C O UN T 1
                      C onspiracy to C om m itH ealth CareFraud and W ire Fraud
                                           (18U.S.C.j1349)
                    The GeneralA llegations section ofthis lndictm entis re-alleged and incorporated

  by reference asthough fully setforth herein.

                    Frofn in oraround July 2016,through in or arotmd August2019,in Palm Beach

  County,ié theSouthern DistrictofFlorida,and elsewhere,thedefendant,

                                           M IN AL PATE L,
  did willfully                                                                       )
                ,   thatis,with the intentto furtherthe objectsofthe conspiracy,and knowi
                                                                                   .
                                                                                        ngly  '



  com bine,conspire,confederate and agree w ith IndividualA ,IndividualB,IndividualC and others

  know n and Ilnknow n to the Grand Jury,to com m itoffensesagainstthe U nited States,thatis:




                                                    8
                                                                                            f
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                                                                                           -
                                                                                            !
                                                                                           11

               tolcnowinglyandwillfullyexecutea schemeand artificeto defraud ahJ1alth care
                                                                                  1 .
  benefitprogram affecting commerce,asdefined in Title 18,United StatesCode,Sectitm 24(b),

  thatis,M edicareand M edicareAdvantageplans,and to obtain,bym eansofm aterially falseand
                                                                                            !
  fraudulentpretenses,representations,andprom ises,money andproperty owned by,andunderthe

  custody and contw lof,said health carebenetk program s,in connection with the delivery ofand

  paym entforhealth carebenefits,items,and services,in violation ofTitle 18,United StatesCode,

  Section 1347;and

                  to know ingly and w ith the intentto defraud,devise and intend to devise a schem e

  and artitk e to defraud,and for obtaining m oney and property by m eans ofmaterially false and

  fraudulentpretenses,representations,and prom ises,knowing thepretenses,representatlons,and
                                                               '               '
                                           .
  prom iseswerefalseand fraudulentwhen m ade,and forthepurposeofexecuting the scheme'and

  artifice,did knowingly transm itand causeto betransm itted by m eansofwire commtmication in

  intçrstateandforeign com merce,certain writings,signs,signals,picturesand sounds,in violation

  ofTitle 18,United StatesCode,Section 1343.

                               PUR PO SE O F TH E CO N SPIR ACY

                  It w as a pup ose of the conspiracy for the defendant and his co-conspi,ratorj to

  unlawfully erlrich themselves by,among other things:(a)paying and receiving kickbacks in'
              '
                          ,                                                                 l
  exchange forthe refeiràlof M edicare benefk iaries,so thatLabsolutions could billM ed.icare for
  CGx tests,withoutregard to whetherthebenefciariesneeded the t'est;(b)paying kickl
                                                                                  backsto  j
                                                                                            j
  telem edicine com paniesin exchange for ordering and arratlging forthe ordering of CGk tests for

  M edicare beneficiaries,withoutregard formedicalnecessity fortheprescribed CGx tests;(c)
                                                           .
                                                                                              i
  subm itting and causing the subm ission,via interstate wire com m lm ltïation,offalse alîd gaudulent
                   '                                                                        J
  claimsto M edicare Rnd M edicare Advantageplansthrough LabsolutionsforCGx teststhatwere
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  notmedicallynecessaryandnoteligibleforreimbursement;(d)concealingthesubmissionoffalse
  andfraudulentclaimstoM edicareandM edicareAdvantageplans;and(e)divertingfraudpr
                            '
                                                                               j
                                                                                 oceeds
  fortheirpersonaluseand beneft,theuseand benefitofothersand to furtherthefraud.

                                    M AN N ER A N D M EAN S

         The m nnner and m eans by which the defendapt and his co-conspirators sought to

  accomplishtheobjectsandpurposeoftheconspiracyincluded,nmongotherthings:
                M INA L PA TEL falsely certified to M edicare thathe, as w ell as Labsolutions,

  would complywith allM edicarerulesand regulations,and federallaws,includingthattheywould

  not lcnowingly present or cause to b: presented a false and fraudulent claim for paym entby

  M edicare and thatthey w ould com ply w ith the Anti-M ckback Statute.

                M INAI,PATEL and co-conspirators,tllrough Labsolutions,paid kickbacksand

  bribes to co-conspirators,including Individual A,Individual B, Individtzal C and others, in

  exchange for CGx testsnmplesfrom M edicare beneficiaries and M edicare-required docum ents

  (collectivelyreferredto asûGdoctors'orders'')thatwereusedto submitclaims,viainterstatewire
  communication,toM edicareandMedicareAdvantageplansforthosetestsfrom Labsolztions.
         6.     M INAL PATEL, lndividual A, lndividual B, Individual C and other co-

  conspirators,created sham contractsanddocumentationthatdisguisedthelcickbacksandbribesas

  paym ents from Labsolutions for m arketing setwices. In the contracts, PATEL, through

  Labsolutions,agreedtopay co-conspirators,includingIndividualA,IndividualB,lndik
                                                                                :
                                                                                 idualC
                                                                                      .
                                                                               .



  and others,a percentage - asm uch as 50% - ofthe grossrevenuespaid by M edicare in exchange

  for their recruitm ent and referral of M edicare beneficiaries, CG x tests and doctor's orders to

  Labsolutions,regardlessofwhethertheCGx testswerem edically necessary.
                                                                                      I
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                                                                      '
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                                                                                      l
                                                                                      i
                                                                                      1
                                                                                      :
                  M INAI,PATEL,'lndividualA,lndivldualB,IndividualC and other con-
  conspirators, obtained accçss to thousands of M edicare beneficiaries by targeting them w ith

  telemarketing campaigns and health fairs,and inducing them to acceptCGx tests regardless of

  m edicalnecessity.

                  M IN A L PA TEL , Individual A , lndividual B, lndividual C and other co-

  conspirators,obtained doctor's orders for the CGx tests by paying telem edicine companies for
  doctor's.ordersm itten by doctorscontracted with thetelem edicinecompanies,even tho'
                                                                                     ugh those

  doctorswerenottreatingthebeneficiariesforcancerorsymptomsofcancer,dibnotusethetest
  resultsin thetreatmentofthebenefkiaties,did notconducta propertelemedicinevisitand often

  nevercomm llnicatedwith thebeneficiariesatall.

                  M IN A L PA TEL , lndividual A , lndividual B, Individual C ànd 6ther co-

  conspirators,caused Labsolutionstosubm itfalseandfraudulentclaimstoM edicareandM edicare

  Advantage plans in at least the approximate am ount of $494 m illioù, via interstate wire
  com m plnication.
                  A s thè result of these false and fraudulent claim s, M edicare and M1edicare
                                                                                      .



  A dvantàge plans m ade paym ents to Labsolutions in atleastthe approxim ate nmountl
                                                                                    !of $154
                              .                                                       !


  lzlillitlrl.

            14.   M INAL PATEL, Individual A , lndividual B, lndividual C and other co-

  conspiratorsusedthefraudproceedsreceived from Labsolutionstobenefitthemselvesaqd others,
                                                                                      1
  and to furtherthe fraud.

           Al1in violatipn ofTitle 18,United StasesCode,Section 1349.
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                                                      C O UN TS 2-6
                                                   H eaIth C are Fraud
                                                    (18U.S.C.j 1347)
                           Thç GeneralAllegationssection ofthisIndictm entisre-alleged and incorporated

             by reference asthough fully setforth herein.

                           From in oraround July 2016 and continuing to illor around August2019,in Palm
'   '
         .   Beach Ccmnty,inthè Southem DistrictofFlorida,and elsewhere,thedqfendant,

                                                    M IN AL PA TEL,

             in cormection with the delivery ofapd paym entforhealth care benefits,items,and services,did

             knowingly and wlllfully executeaschemeand artificetodefraud ahealth carebenefitproginm
    ''
     , .
             affecting éommerte,asdefined in Title 18,United StatesCode,Section 24(b),thatisM edicare
                      '                                                                          )
         'and M edicare Advantage plans, and to obtain by m eans of m aterially.false and fraudtllent

             pretenses,representations,and prom ises,m oney and property owned by,and tmderthe custody

             and controlof,said healthcare benefitprogrnm s.

                                    PU R PO SE O F TH E SCH EM E A ND A RTIFIC E
                           It                                                                        l
                               w as a purpose ofthe sche> e and artifice forthe defendant and his accom plices
                                                                   '
                                              .
                                                                                                     g
             tounlawfdlly enrich themselvesby,among otherthings:(a)paying and receiving kickbacksin
             exchu gè forthe referralofM edicare beneficiaries,so thatLabsolutions could billM edicare for
                           .




             CGx tests,'
                       withoutregardto whetherthebeneficiariesneeded thetest;(b)paying kickbacksto
         '

             telem edicine com pnnies in exchange for ordering and arranginp forthe ordering of CGx'testsfor
                                    .
                                                                                                   ;
             M edicare beneficiaries,withoutregard formedicalnecessity fortheprescribed CGx tests;(c)
             submitting and causing thesubmission offalse and fraudulentclaimsto M edicare and M edicare
                                                                                                t
             Ad                                                                                 1
                vantageplansthrough LabsolutionsforCGx teststhatwerenotm edicilly necessary and not
                                                                                             l
             eligible forreimbursement;(d) concealing the submission of false and fraudulentq1laims to
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        M edicareandMedicareAdvantageplans;and(e)divedingfraudproceedsfortheirperlonaluse
                                        .
                                                                                              )
        andbenefit,theuseand benefitofothersandto furtherthefraud.                            '

                                       TH E SCH EM E AN D M W IFICE

                4.       The M anner and M eans section of Count 1 ofthis Indictm entis re-alleged and

        incorporated by reference as though fully set forth herein as a description of the schep e and.

        artifice.

                           A CTS IN EX EC UTIO N O R AT TEM PTED EX E CU TIO N
                                    O F TH E SC H EM E A ND A R TIFIC E

                         On oraboutthedatesspecified below asto each count,in Palm Beach Cgunty,in
                                                                             .                I
        the Southern DistrictofFloridaand elsewhere,the defendanty                            '

                                               M INA L PA TEL ,

        in connection with the delivery ofand paymentforhealth carebenefits,item s,and services,did
    .
        knowingly and willfully execute,andattem ptto execute,theabove-described scheme and artifice
                                                                                 1                  .       .

        to defraud ahealth carebenefitprogrum affecting comm erce,asdefinedbyTitle 18,UnitedStates

    .   Code,Section24(b),thatis,M edicareandM edicareAdvantageplans,andtoobta'in,bypeansof
                             '

                                                                                              j
                                                                                              !
                                                                                                .
        m aterially false and fraudulentpretenses,representations,and prom ises,m oney and property
                                                                                              1
                                                                                              d         .
        owned by,and tmderthecustody and controlof,said health care benefitprograms,irkthatthe
        defendantsubm itted and caused the subm ission offalse and fraudulentclaim s,which soughtthe

        identified döllaram otmts,representing thatsuch services were pedically necessary,eligible for
        M edicarereim bursem ent,andprovidedto M edicarebeneficiariesasclaimed:

         C ount         M edicare    A pprox. D ate      Claim N o.       First CG x T estC laim ed;        .
                     Bsneficiary     ofSubmission                          TotalApprox.Am ount
                                       ofClaim                                    Billed i
                                                                               Geneanalysij
.
                    '                  8/5/2018       161118285725880            (breastcancer1'
                                                                                               );
                                 .
                                                                                     $6,470
Case 9:19-cr-80181-RAR Document 1 Entered on FLSD Docket 09/25/2019 Page 14 of 27




    Count          M edicare. Approx.Dàte              Claim No.        FirstCGxTestClaimed;
                   B eneficiary    ofSubm ission                         TotalA pprox.A m ount
                                     OfClaim                                     Billed
         3            G                                                      (u yw analysis
                          .   C.       9/14/2018    161118257426250
                      ,
                                                                            (breastcancer1);
                                                                                   $6,4,y,
                                   '
         4             JP..
                                       9/24/2018    161118267908850 GeneanalyP45
                                                                             sis(
                                                                                )c;ytochrome
                                                                                    $94:
     .   5     .      R                                                         G ene analysis
                          D.
                          .            10/12/2018   161118285723810         (breastcancer1);
               ,                                                                   $6,4,y:
                               .                                                G ene an
                                                                                       'alysib
         6           W .W .            11/29/2018   161118333535410         (breastcancer1);
                                                                                   $6,470
             ln violation ofTitle 18,U nited States Code,Sections 1347 and 2.

                                          CO U N T 7
    Conspiracy to D efraud the United States and to Pay and R eceive H ealth C are K ickbacks
                                               (18U.S.C.j371)
                     The GeneralAllegations àection ofthisIndictmentisre-alleged and incorporated

  by reference asthough fully setfol'th herein.

                     From in orarolmd July 2016,tllrough in oraround August2019,in Palm Beach

  County,in thé Southern D istrictofFlorida,and elsewhere,the defendant,

                                               M IN AL PA TEL ,

  did willfully,thatis,with the intentto f'urtherthe objects ofthe conspiracy,and knowingly
  combine,conspire,confederateandagreewithlndividualA,IndividualB,IndividualC and others,

  known andunknown tothe Grand Jtu'y,

                     to defrauà the United Statesby impairing,impeding,a
                                                                       .obstnzcting,and defeating
  through deceitful and .
                        dishonest m eans, the law ftzl governm ent functions of the HH S in its

  adm inistration and oversightofthe M edicare program '
                                                       ,and
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                                                                                       i
                to com mitan offense againsttheUnited States,thatis,to violateTitle42,United

  StatesCode,Section 1320a-7b(b)(2)(A),by knowingly and willfully offering and.paying any
  remuneration,includingldckbacksandbribes,directlyandindirectly,ovel4lyandfcovert1y,
                                                                                    'incash
  and in ldnd,including by wiretransfer,to aperson to induce such person to referan individualto

  aperson forthe furnishing and arranjing forthe furrlishing ofany item and selviceforwhich
  paymentm ay be made in whole and in partby a Federalhealth care program ,'thatis;M edicare

  and M edicare A dvantage plans.

                              PcltlàosE oF TkE coxsm M cv
                3.     Itwasapurposeoftheconspiracy forthedefendantand hisco-conspirators

  to unlawfully enrich themselvesby:(a)soliciting,receiving,offering andpayingkickbacksand
  '




  bribesinrettum forrecruitingandrefeningM edicarebenefic
                                                        'iariestoLabsolutions;(b)submitling
  and causing the subm ission ofclaim sto M edicare and M edicareAdvantageplansforCGx tests

  '
  that Labsolutions purported to provide to those M edicare beneficiaries;(d) concealing the
  submission offalseand fraudulentclaimsto M edicare and M edicareAdvantageplans;and (e)
                                                                                       1
  diverting fraud proceedsfortheirpersonaluse and benefh,the use and benetitofothers and to
          .




  furtherthe fraud.

                                    M A N NE R A N D M EAN S

         The m nnner and means by which the defendant and his co-conspirators sought to

  accomplishtheobjectsandpup oseoftheconspiracyincluded,amongotherthings,thefollowing:
         4.     C o-conspirators, including lndiv-idual A ,Individual B ,lndividual C and others,

  recruited and referred M edicare beneficiariesto Labsolutions,knqwing thatLabsolutionsw ould
  billM edicare forCGx testspuzportèdlyprovided to therecïuited M edicarebeneficiaries.
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                                                            .                           !.

                M INAL PATEL, through Labsolutions, offered and paid kickbacks to co-
                                                                                        '
                                                                            .

  conspirators,includingIndividualA,IndividualB,IndividualC and others,in exchanglforthe
  recnzitm entandreferralofM edicarebeneficiariesto Labsolutions.

                M INAL PATEL, Individual A, Individual B, Individual C arld other co-

  conspirators,created sham contractsand documentation thatdisguisedthekickbacksatldbribesas

  payments from Labsolutions for m arketing services. ln the'contracts, PATEL, tllrough

  Labsolutions,agreed to pay co-conspirators,including Indiv'
                                                            idualA,IndividualB,lndividualC
          1
  and others,apercentage- asmuch as50% - ofthegrössrevenuespaid by M edicare in exchange .

  for their recruitm ent arid referralof M edicare beneficiaries,C.
                                                                  Gx tests and doctor's orders to

  Labsolutions,regardlessofwhetherthe CGx testswerem edically necessary.

                Co-conspirators,including IndividualA,IndividualB,Individual C and.others,

  offered atldpaid kiçkbackstotelemedicinecompaniesand othersin exchangefortheorderingand

  azranging for ordering CGx tests forM edicare beneficiéries,who were paid,atleastin pat't,to

  authorizetheCGx tests.

         8      M INAL PATEL, IndividualA, Individual B, Individual C and oiher co-
  conspirators,caused Labsolutions to subm it CG x claim s to M edicaze and M edicare A dvantage

  plansin atleastthe approxim ate am ountof$494 m illion.

         9.     As the result of these claim s,M edicare and h4edicare Advr tage plaps naade

  paym entsto Labsolutionsin atleastthe approxim ate amountof$164m illion.
         10.    M INAL PATEL paid his co-conspirators,including lndividualA,IndikidualB,

  IndividualC and others,atleastapproxim ately $19 m illion,and usedthefraudproceedsreceived
                                                                                        E
  from Labsolutionstobenefithim selfand others,and to furtherthe âaud.
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          '

                                              O V ERT A C TS

              Inf'urthermweoftheconspiracy,andtoaccomplishitsob!jectsandpupose,atleastoneco-
                   .                                                           '



    conspiratorcommittedandcausedtobecommitted,in the SouthernDistrictofFlorida,atleastone

    ofthefollowing overtacts,am ong others:

                       On or aboutJuly 22,2016,M INAL PATEL negotiated a contract between a

    company controlled by IndividualC and Labsolutions,providing thatLabsolutions would pay

    Company C 50% ofthe m onthly revenue Labsolutionsreceived from M edicare for CGx tests

    referred by IndividualC orCompany C,m inuscertain costs,and thatlndividualC wouldreceive

.   a 5% 'Giover-ride''commission ofany reimbursem entsLabsolutions received from M edicare for

    CGx tests refen'
                   ed by other marketers lndividual C recruited to Labsolutions,also known as

    Eçdow nlines''ofIndividualC .

                       On or about Febl-uary 14, 2017, M INAL PATEL transferred approxim ately

    $35 738 from an accotmtending in 5593 in the nnm e ofLabsolutions atBB&T to an accôunt
    çhdingin 6891in thennme ofIndividualC atW ellsFargo in exchange forIndividualC'srefen'al

    ofM edicarebeneficiariesto Labsolutions.

                       O n oraboutM ay 1,2017,M IN A L PA TEL executed a contractw ith Corhpany A

    pursuant to which Labsolutions agreed to pay Company A 45% of the m onthly rrekenue

    Labsolutionsreceived from M edicareforCGx testsreferred by Company A,minuscert>in costs.

              4.       OnorabotztJanuary4,2018,M INAL PATEL transferred approxim ately $402,848
                                                                                         ,



    frop an accountending in 5593 in the nam e of Labsolutions atB B& T to an accountin the nnm e

    ofCompany B endingin 1659 atW ellsFargoin exèhangeforlndividualB'srefen'alofM edicare

    beneficiariesto Labsolutions.

              5.       On oraboutJanuary 14,2019,M IN AT,PATEL transfen'
                                                                       ed approximétely $51,380
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         from an accountending in 5593 in thennm e ofLabsolutions atBB& T to an accountin the nalhe

         ofCompany A endingin 3990 atW ellsFargoin exchangeforlndividualA 'srefen'
                                                                                 alofM edicare

         beneficiariesto Labsolutions.

                         On oraboutAugust9,2019,M IN AI,PATEL called IndividualC and suggested
 '
     .   thatIqdividuplC llire a complianceperson becauseGlsay they com e in an inierview you,they're

         going to aàk who isyour com pliance officer. ltgivesyou a levelof separation where you can say

         you'redoing itcompliantly.''

              .   Allin violation ofTitle 18,United StatesCode,Section 371.

                                                  C O UN TS 8-12
                   Pàym entofKickbacksin Connection Fith aFederalH ealth CareProgram
                                           (42U.S.C.j1320a-7b(b)(2)(A))
                         Paragraphs 1through 33 ofthe GeneralAllegations section ofthisIndictm entare

     rrualleged and incop orated byreferenceasthough fully setforth herein.

                         On braboutthe datesenum erated below,in Palm Beach County,in the Southern

     D istrict ofFlorida,and elsewhere,the defendant,M IN A L PATEL ,did know ingly and w illfully
                          '
                                                                                               I
     offerand pay '
                  any remuneration,thatis,kickbacksand bribes,directly and indirectly,ove
                                                                                        'rtly and

     covertly,in cash and in kind,including by wiretransfer,assetforth below ,to aperson,to indube

     such person to referan individualto aperson forthe furnishing and arranging forthefurnishing of

     anyitem andserviceforwhichpaymentmayberriadeinwholeandi/parttmderaFederalhealth
     care progrnm ,thatis;M edicare and M edicare A dvantage plans:

              C               A pprox.D ate   Approx.A m t.of
                  oupt         ofK ickback      K ickback            D escription ofPaym ent
                                Paym ent         Paym ent
                                                                W ire transfer f'
                                                                                rom accountatBB&
                                                                                               :
                                                                                                  T
                                                                in the nam e of Labsolutions ending
                   8           2/14/2017          $35,738       in 5953 to account in nam e of
                                                                IndividualC atW ellsFargoendingin
                                                                6891.
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       C             Approx.D ate            Approx.A m t.of                                  1
            ount                                                                              :
                      ofK ickback               Kickback             Description ofPaym ent j
                       Paym ent                 Paym ent                                      :
                                                                W ire transfer from accountatBB & T
                                                                in the name ofLabsolutions ending
                           1/4/2018             $402,848        in 5953 to accotmt in nam e of
                                                                Com pany A atW ellsFargpending in
                                                                1659.                             '
                                                                W iretransferfrom accotmtatBB&T
                                .                               in the nam e of Labsolutions ending
            10         7/12/2018                $656,068        in 5953 to account in contro'1 of
                                                                IndividualA atW ellsFargoendipgin
                                                                4045.                    .' '
                                                                W iretransfer9om accountatBB& T
                                                                in the nam e of Labsolutiönsehding
        '
            11         11/14/2018               $150,251        in 5953 to account in nam e of
                                                                lndividualC atW ellsFargo ending in
                                                            .   ysyy.             ,            r
                                                                W ire transferfrom accountatBB& T
                                                                in the nam e of Labsolutions ending
            12         12/1372018               $728,972        in 5953 to accotmt in nam e of
                                                                Com pany B atW ellsFargo ending in
                       '                                        3990.     '            .

            ln violation ofTitle 42,United States Code,Section 1320a-7b(b)(2)(A) and Title 18,
  United StatesCode,Section 2.

                                                  cot/N'
                                                       r 13
                                    Conspiracy to C om m itM oney L aundering
                                              (18U.S.C.j 1956(h))
            From in orarotmd January2017,throughin oraroundAugust2019,in Palm Beach Cotmty,
                            .
                                                                                              j
  in the Southem DistrictofFlorida,and elsew here,the defendant,
                                                                                              i
                                                                                              !
                                                M IN AL PA TEL ,
                                                                                              1
  did willfully,thatis,with the intèntto f'urtherthe objects ofthe conspiracy,and know ingly ,
  combine,conspire,and agreewith others,knom land llnknown tothe Grand Jtlry,to violateTitle '
                                                                                              1
                                                                                              -

  18,United StqtesCode,Section 1956,thatis,                                                   '
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                               to knowingly conduct a financial transaction affecting interstate and foreign
      '
              com merce,which transaction involved the proceedsofspecised unlawfulactivity,knowing that

              the property involved in the financialtransaction represented the proceeds of som e fonn of

              unlaw ful acti'
                            vity,and'know ing thatthe transaction w âs designed in w hole or in partto conceal

              and disguise the nature,location,source,ownership,and controlofthe proceeds of specffied

              ulklawfulactivity,inviolation ofTitle18,UnitedStatesCode,Section 1956(a)(1)(B)(i);and
                        b.     to'Ilcnowingly engage in a m onetary transaction by,tk ough,and to a financial
                                                                                                         .




              institution,affecting interstate and foreign com merce,in criminally deriyed property ofa value

              greaterthan'$10,000,such jroperty having been derived from specified unlawfulactivity,in
      'violation ofTitle 18,United StatesCode,Section 1957.
                    .
                        Itisfurtherallegedthatthespecified unlawfulactivity isconspiracy to com mithealth care

l :. f'raud:
 '
           ,intviolationofTitle 18,United StatesCode,Section 1349;heatth car
                                                                           'efraud,inviolationof
              Title 18,U nited StatesCode,Sectioll 1347,
                                                       .and w ire fraud,in violation ofTitle 18,U nited States.

              Code,Section 1343.

                        A11inviolationofTitle18,United StatesCode,Section 1956(h).
                                              FO R FEITU RE A LLEG A TIO N S
       '
                                                (18U.S.C.j982(a)(1),(a)(7))
       '                                                                                            !
                                                                                                     ;
                               The allegations pf '
                                                  this Indictment are re-alleged and by this reference ftzlly
                                                                                                     (
                                    .
                                                                                                      !
          , .   incorporated herein forthe ptlrpose ofalleging forfeitureto th: United Statesofcertainl
                                                                                                      property
                                                                                                     l
                                                '
                                                      .                                              l
                inwhichthedefendant,MINAL PATEL,hasaninterest.                                       !
                               Upon conviction of a violation ofTitle 18,United States Code,Section 1347 or
          '
              1349,oraviolation of,orcrim inalconspiracy to com mitaviùlation of,Title 42,United States
      .
              Code,Section 1320a-7b,as alleged in this lndictm ent,the defendant shallforfeit to the U nited

              Statesany property,realorpersonal,thatconstitutesorisderived,directly orindirectly,from gross
                                                                                           1
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                                                                                           1
                                                                                           i
                                                                                           l
                                                                                           j

                                                                                           1
                                                                                           !
  proceeds traceable to the comm ission ofthe '
                                              offense,pursuantto Title 18,United States Code,

  Section982(a)(7).                                                                        1
                Upon conviction ofa violation ofTitle 18,United StatesCode,Section 1956,as

  alleged in thisIndictm ent,the defendantshallforfeitto the United States any property,realor

  personal,involved in such offense,and any property traceableto such property,plzrsuantto Title

  18,UnitedStatesCode,Section982(a)(1).
         4.         Thepropelysubjecttoforfeitureasaresultoftheallegedoffensesincludes,but
  isnotlim ited to,the follow ing:

         Forfeiture M onev Judzm ept

                (i) Thestzm ofatleast$144,333,297.73inU.S.currency,whichamountisequal
                       tothe'
                            grossproceedstraceabletothecom mission oftheviolationsalleged in

                       this Indictm entand which the U nited States m ay seek as a'forfeiture m oney
                       '
                       Judgm ent;

         BB& T A ccountx5945
                '

                                                    .                                      I

                (ii) Up to andilwluding $262,821.05 inU.S.currency on depositin in1
                                                                                . :
                                                                                   account
                       number 0005245165945 held in the nam e ofLabsolutions LLC ay BB&T
                       B ank;

                 (iii) Approximately $13,896,134.78 in U.S.currenc-*v' formerlk
                                                             .                *'' on dé
                                                                                      lpos
                                                                                         it in
                                                                                  p'
                       accotmtnumber 0005245165945 held in the nam e ofLabsolutionsLLC at



         BB & T A ccountx6011
                                                                                           !
                 (iv) Approximately $440,730.20 in U .S. currency previously on deposit in
                       account num ber 0005245166011 held in the nam e of Labsolutions LLC at
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                   BB&T Bank;

        BB& T Accountx5953

              (v) Approximately $534,093.52 in U.S. currency previously on deposit in
                   accountnum ber0005245165953 held in the nam e ofLabsolutions LLC at

                   BB& T B ank;

        BB&T Accoùntx0767

              (vi) Approximately $5,842,046.79 in U.S.currency prekiously on deposit in
                   accountnum ber1374000767 held inthe nam e ofLabsolutionsLLC atBBX/
                                                                             ,



                   Bank;

        BB&T Accountx8788

              (vii) Approximately $1,129,562.62 in U.S.currency previously on deposit in
                   account num ber 0005244918788 held in the nam e of M INA LK UM A R

                   PATEL atBB& T Barlk;

        BB & T A ccotmtx0219

              (viii)Approximately.$4,000,000.00 in U.S.cuzrency previously on deposit in
                   account number 0005248710219 held in the nam e of M INALKUM AR

                   PATEL atBB& T Bank;

        BB & T A ccotm tx0065

              (ix) Approximately $4,000,000.00 in U.S.currency previously on deposit in
                                                                                 1
                   account num ber 0005248710065 held in the nam e of M INA LK UM A R

                   PATEL atBB& T Bank;

        Rance Rover

              (x) One2019 black Land RoverRangeRover,Vehicle ldentification Number
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                        (G;VlN'')SALGW 5SE2KA545805;
            Ferrari

                   (xi) One2018 red Ferrari488 Spider,VIN Z171780AM A6.10236067;
            RealProperty

                   (xii) Realpropertylocated at548and 552 PonceDeLeonAvenue,NE,Atlanta,
                        GA ;and

                   (xiii)Realpropertylocatedat1118BlackshearDrive,Decattm GA.
                   Ifanyoftheproperty subjecttoforfeiture,asaresultofanyactoromissionofthe
     defendant:

                   a. cannotbelocatedupon theyxercise ofdue diligence;

                      hasbeen transfen'
                                      ed orsold to,ordeposited with,athirdparty;

                      hasbeenplacedbeyondthejurisdictionofthecourt;
                   d. hasbeen substantially dim inished in value;or

                      has been comm ingled with Uther property which cannotbe divided without

                      difficult,
     theUnited States'shallbeentitled toforfeitlzre ofsubstituteproperty undertheprovisionqofTitle

 '
     21,United StatesCode,Section 853û$,andsuch propel'tyincludes,butisnotlimitedtotthereal
     property located2881PeachtreeRoad,NE,#1903,Atlanta,GA .




                                                  23
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        Al1pufsuantto Title 18,United States Code,Sections 982(a)(1) and (a)(7),and the
  procedlzrej setforth in Title 21,United States Code,Section 853,as incorporated by Title 18,

  UnitedStatesCode,Section982(b)(1).
                                           A TRU          E BILL
                                                        '''-'
                                              a'..-...-'e-' -.'e- ...
                                            w .-   u.               ...


                                           /
                                                                        w   -   V
                                            G           1    JU RY FOREPER SON


    (
  A     N A FA JAR D O OR SHA N
  U N ITED STATES ATTO RN EY


  A LLAN M EDIN A
  A CTIN G D EPU TY CHIEF
  CRJM INA L D IV ISION ,FM U D SECTION
  U .s.DEPA RTM EN T O F JU STICE



  TIM OTH Y .
  TIU A L   TORN EY
  CIUM FNA L D IV ISION ,FR AU D SECTION
  U .s.D EPM T M EN T O F JUSTICE




                                                   24
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                                                UNITED STATES DISTRICT COURT
                                               SO UTH ERN DISTRICT O F FLORIDA

    UNITED STATES OF AM ERICA                                cAsE No.                                      1
                                                                                                           E
                                                             CERTIFICATE OF TRIAL ATTORNdY.
    M INAL PATEL
                                                             Superseding CaseInform atioq:
                                  Defendant.       /
.
    CourtDivijiol!:(seleclOne)        .                      New defendantts)        Yes         No                 .
    .
              M laml           Key W est                     Num berofnew defendants
              FTL    z'        W PB          FTP             Totalnumberofcounts

                     Ihavecarefully considered the allegationsofthe indictment,thenumberofdefendants, thenumberof
                     probable witnessesandthe legalcom plexitiesofthelndictment/lnformation attached hereto.          '
              2.     Iam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                     Courtin setting theircalendars and scheduling crim inaltrials underthe m andate ofthe Speedy Trial
                     Act, Titlei
                               28 U.S.C.Section 316l.
              3.     Interpreter:         (YesorNo)     No
                     Listlanguage and/ordialect
              4.     Thiscase willtake 15 daysforthepartiesto try.
              5.     Pleasecheck appropriatecategory and typeofoffense listed below:
                     (Checkonlyone)                                (Checkonlyone)

              I      0to5 days                                     Petty
              11     6 to 10 days                                  M inor
              I11    11to20days                    ?'              M isdem.
              IV     21to60days                                    Felony             ?'
              V      61daysandover
              6.     flasthiscasepreviouslybeen filedinthisDistrictCourt?           (YesorNo)    No
               lfyes:Judge                                   CaseNo.                                   1
               (Attachcopyofdispositiveorder)                                                          '
               Hasacomplaintbeentiledinthismatter?           (YesorNo)       N0
               Ifyes:M agistrateCaseNo.
               Relatedlniscellaneousnumbers:
               Defendantts)in federalcustodyasof
               Defendantts)instatecustodyasof
               Rule 20 from the Districtof
               lsthisapotentialdeathpenaltycase?(YesorNo)              No
                      Doesthiscaseoriginatefrom a matterpending inthe CentralRegion oftheU .S.Attorney'sOffice
                      priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                 Yes          No ?' '
                       .


                      Doesthiscaseoriginate from am atterpending in theNorthern Region U.S.Attorney'sOffice
                      priortoAugust8,2014(M ag.JudgeShaniekM aynard)?               Yes          No g



                                                                    TIM OT    . OPER
                                                                    DOJTRIAL ATTORNEY
                                                                    COUTR ID NO.A5502016
        #penaltySheetts)attached                                                                               REV8/13/2018
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                            U N ITED STA TES DISTR IC T C O U RT
                            SO U TH ER N DISTR ICT O F FLO R IDA


                                      PEN A LTY SH EET

  D efendant'sN am e:                   M IN AL PA TEL                             . .
                                                                                     16
                                                                                     :
  CaseNo:                                                                            :
  Count#:

    Conspiracv to Com m itH ealth Care Fraud and W ire Fraud

    Title 18.United StatesCode.Section 1349

   WM ax Penall : Twentv (20)vears'imprisonm ent
  Counts#: 2 - 6

     Health Care Fraud

     Title 18.United StatesCode.Section 1347

  *M axPenalW : Ten(10)years'imnrisonmentastoeachcount
  Count#:     7

     Conspiracv to DefraudTheUnited Statesand to Pav and ReceiveHealth CareKickbabks

     Title 18.United StatesCode.Section 371

  ''M ax Penaltv:   Five(5)vears'im prisonm ent

  Counts#: 8- 12

     Paym entofKickbacksin Connection with aFederalHea1th CareProcrnm

     Title42.United StatesCodé.Section 1320a-7b(b1(2)(A)

  *M ax Penalty:    Ten (10)years'imprisonm entasto each count
                                                                                      1
  WRefers only to possible term ofincarceration,does not include possible fines,restitution,
  specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                           SO UTH ERN D ISTR ICT O F FL O RIDA
                                      '
                           .




                                      PENA LTY SH EET

   D efendant's Nam e:                    M IN A L PA TEL



   Cotmt#: 13

    Conspiracy to Com m itM onev Latm derins
                                           q

    Title 18.United StatesCode.Section 1956(h)         .

   AM ax Penalw : Twenw (20)vears'imprisonm ent

  *R efersonly to possible term of incarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
